               Case 4:07-cr-40037-JPG                    Document 184 Filed 11/19/08                       Page 1 of 7       Page ID
*'%AO 245B    (Rev. 06/05) Judgment in a Criminal Case             #698
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                       SOUTHERN                                   District of                                   ILLINOIS

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
                   JACOB L. MESSIC                                        Case Number:           4:07CR40037-002-JPG

                                                                          USM Number:            07354-025

                                                                           Justin Kuehn
                                                                          Defendant's Attorney
THE DEFENDANT:
litpleaded guilty to count(s)        1, 2, 4 and 5 of the Superseding Indictment.

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended              Connt
 18 U.S.C. 2113(a)(d)               Bank Robbery With a Dangerous Weapon                                      8/23/2006                   1s,4s

 18 U.S.C. 924(c)(a)(A)ii           Brandishing a Firearm During & in Relation to a Crime of                  7/20/2006                   2s

                                    Violence.

       The defendant is sentenced as provided in pages 2 through              11         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) ____________ 0 is                                      o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaaIlt must notify the court and United States attorney of material changes in economiC circumstances.

                                                                           11/13/2008
                                                                          Date of Imposition of Judgment



                                                                          Signa,",eOfJ~-"-I;(D.=::>·" ""k$!L.-----
                                                                           J. Phil Gilbert                               District Judge
                                                                                                                       Title of Judge


                                                                                                              /1Z~~
                                                                          Date
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case             #699
           Sheet IA
                                                                                         Judgment-Page   2     of    11
DEFENDANT: JACOB L. MESSIC
CASE NUMBER: 4:07CR40037-002-JPG

                                         ADDITIONAL COUNTS OF CONVICTION
Title & Section                 Nature of Offense                                    Offense Ended           Count
18 U.S.C. 924(c)(1 )(A)ii        Brandishing a Firearm During and in Relation to a    8/23/2006               55
                                 Crime of Violence.
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AO 2458      (Rev. 06/05) Judgment in Criminal Case                #700
             Sheet 2 - Imprisonment

                                                                                                         Judgment - Page   _...:3:.-_ of   11
DEFENDANT: JACOB L. MESSIC
CASE NUMBER: 4:07CR40037-002-JPG


                                                                IMPRISONMENT

        The defendant is hereby connnitted to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 462 months (78 months on Counts 1s and 4s. 84 months on Count 2s to run consecutive to Cts. 1s and 4s. 300 months on
 Count 5s to run consecutive to Count 2s. for a total of 462 months).



     r;/ The court makes the following recommendations to the Bureau of Prisons:
 That the defendant participate in the Intensive Drug Treatment program and any emotional and mental treatment.



     r;f The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
         o     at    __________ 0                        a.m.    o p.m.       on

         o as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o     before 2 p.m. on

         o     as notified by the United States Marshal.

         o     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                           to
at                                                    _ with a certified copy of this judgment.




                                                                                                      UNITED STATES MARSHAL



                                                                            By                    ~:;;;-::;~=;:;::_;:==:;=;:;_;;_;__----
                                                                                                   DEPUTY UNITED STATES MARSHAL
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AO 2458      (Rev. 06/05) Judgment in a Criminal Case
                                                                  #701
             Sheet 3 - Supervised Release

                                                                                                           Judgment   Page    4     of
                                                                                                                                               11
DEFENDANT: JACOB L. MESSIC
CASE NUMBER: 4:07CR40037-002-JPG
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 5 years on Counts 15, 25, 45 and 55. All Counts to run concurrent with each other.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
rot The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
rot The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any ~ersons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or p-ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
        defendant s compliance with such notification requirement.
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AO 2458   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                               #702
                                                                                            Judgment-Page     5     of    11
DEFENDANT: JACOB L. MESSIC                                                                                  ---''--
CASE NUMBER: 4:07CR40037-002-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
 X While incarcerated, the defendant shall pay restitution at a rate of $25.00 per quarter or 50 percent from prison wages if
 working in UNICOR.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the restitution in installments of $50.00 per
 month or ten percent of his net monthly income, whichever is greater over a period of 60 months, to commence 30 days
 after release from imprisonment to a tenm of supervision.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.
 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Based on the defendant's history of substance abuse, the Court is exercising it's discretion and ordering that the
 defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/ or participation in a residential treatment facility. The number of tests shall not exceed 52 tests in a one
 year period. Any participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for
 the costs associated with substance abuse counseling and/or testing based on a copay sliding fee scale approved by the
 United States Probation Office. Copay shall never exceed the total costs of counseling.
 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United Stats Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
AO 2458    (Rev.Case     4:07-cr-40037-JPG
                 06/05) Judgment in a Criminal Case   Document 184 Filed 11/19/08                                Page 6 of 7             Page ID
           Sheet 5 - Criminal Monetary Penalties                #703
                                                                                                               Judgment - Page       6      of
                                                                                                                                 ~'---
                                                                                                                                                   11
DEFENDANT: JACOB L. MESSIC
CASE NUMBER: 4:07CR40037-002-JPG
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                                       Fine                              Restitution
TOTALS            $ 400.00                                                         $ 0.00                            $ 49,298.00


o The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such detennination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is pard.

Name of Payee                                                                         Total LQss*        Restitution Ordered     Priority or Percentage

  First Neighbor Bank                                                                       $23,000.00           $23,000.00

  Banc Insure                                                                                $5,380.00               $5,380.00

  Elkville State Bank                                                                       $10,000.00           $10,000.00

  Harris Bank                                                                                $5,711.00               $5,711.00

  Progresssive Casualty Insurance Co.                                                        $5,207.00               $5,207.00




TOTALS                              $                 4~9.::,2~9.::.8.~0.::....0        $                49,298.00


o     Restitution amount ordered pursuant to plea agreement $

o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.s.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

iiil' The conrt determined that the defendant does not have the ability to pay interest and it is ordered that:
      ijf the interest requirement is waived for the D fine ~ restitution.
      o the interest requirement for the D fme D restitution is modified as follows:

• Findings for the total amount oflosses are re'tuired under Chapters 109A, 110, I lOA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 2458
               Case 4:07-cr-40037-JPG
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           Sheet 6 - Schedule of Payments                         #704
                                                                                                         Judgment -   Page    7     of       11
DEFENDANT: JACOB L. MESSIC
CASE NUMBER: 4:07CR40037-002-JPG

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    r;t Lump sum payment of $                               due immediately, balance due

         o not later than                                        , or
           D     in accordance           o C,         0 D,   0     E, or    r;t F below; or
B    0    Payment to begin immediately (may be combined with               0 C,      o D, or      0 F below); or
c    0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisomnent to a
          tenn of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisomnent. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    r;t Special instructions regarding the payment of criminal monetary penalties:
           X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
           commencement of the term of supervised release. The defendant shall pay the restitution in installments of
           $50.00 per month or ten percent of his net monthly income, whichever is greater over a period of 60 months, to
           commence 30 days after release from imprisonment to a term of supervision.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisomnent, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



r;t Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

      Jacob L. Messic, 07CR40027-02, John Brown 07CR40027-03 and Rodney Messic 4:07CR40027-01 $49,298.00 joint
      and several. The victims recovery is limited to the amount of their loss and the defendant's liability for restitution
      ceases if and when the victims receive full restitution.

o The defendant shall pay the cost of prosecution.
o    The defendant shall pay the following court cost(s):

o The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (]) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
